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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

ROOR INTERNATIONAL , BV and                   )
SREAM, INC.,                                  )
              Plaintiffs,                     )        19 C 5064
                                              )
         v.                                   )        Judge Gettleman
                                              )
MUTUAL TRADERS, LLC, et al                    )
                                              )
                       Defendants.            )


                                      JUDGMENT ORDER

         This matter coming before the Court on Plaintiffs’ Motion for Entry of Default Judgment

under Rule 55(b), and after considering the prove-up materials and memorandum submitted by

movant, the Court hereby finds, and it is ORDERED:

         1.     Plaintiffs filed their Complaint against the Defendant on July 26, 2019. (Dkt. 1).

         2.     Defendant MUTUAL TRADERS LLC d/b/a/ AMERICAN SMOKE & VAPE was

served with process on October 21th, 2019. (Dkt. 7).

         3.     Defendant FARHAN PATEL was served with process on April 5, 2020. (Dkt. 22).

         4.     Defendant AIRAF JALIAWALA was served with process on April 5, 2020. (Dkt.

23).

         5.     The Defendants have failed to respond to the Complaint or otherwise appear in

this instant action.

         6.     The Court entered a Rule 55(a) default against Defendants on August 6, 2020.

(Dkt. 33).

         7.     Plaintiffs have filed prove-up materials and a memorandum of law.




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       8.        In counterfeit trademark cases, the balance in setting statutory damages is

providing some measure of compensation and deterrence, without crossing the line into over-

deterrence. Relevant considerations include the nature and price of the product; the volume of

sales (or an estimate depending on the size of the offending retail operation); any safety and

health risks of the counterfeit goods; and the strength of the mark. See, e.g., Republic

Technologies (NA) LLC v. Smoke Shop for You XX, Inc. 19 C 8462 (N.D. Ill. 2020) (Chang, J.).

       9.        Here, the investigator reported there were several offending RooR pipes being

offered at the location. And on default willfulness is presumed.

       10.       Additionally, as the court in Smoke Shop for You XX, Inc., concluded, “there

actually is some health concern with counterfeit products that are designed to convey vapors into

the body.” Id.

       11.       The amount of statutory damages sought in this case is in line with other awards

made in this District. See, id, Technologies v. Smoke Shop for You XX, Inc., 19 C 8462 (imposing

statutory damages in the amount of $30,000: Lakeview Smoke and Vape, Inc. 19 C 6489 (Dow,

J.)(imposing statutory damages in the amount of $30,000; Roor v. Smoker’s Zone, 19 C 5014

(Lee, J.)(same).

       12.       Accordingly, the Court awards $30,000.00 in statutory damages. In addition to

the statutory damages, $568.90 is awarded for costs (the filing fee and service expense). The

total judgment amount is thus $30,568.90.

       13.       A separate AO-450 judgment shall be entered.




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      Judgment in entered in favor of ROOR INTERNATIONAL BV and SREAM, INC., and

against MUTUAL TRADERS LLC d/b/a AMERICAN SMOKE & VAPE, FARHAN PATEL,

and AIRAF JALIAWAL, jointly and severally in the amount of $30,568.90.




Dated: August 24, 2020



                                         ENTERED:




                                         ______________________________
                                         Hon. Robert W. Gettleman
                                         United States District Judge




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